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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

SHELTON DENORIA JONES,
Petitioner,
CIVIL ACTION NO. H-O6-1246

V.

NATHANIEL QUARTERMAN,

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Respondent.
FINAL JUDGMENT

For the reasons stated in the court's Ordsr Of Dismissal, this
action is DISMISSED WITHOUT PREJUDICE.
This iS a FINAL JUDGMENT.

SIGNED at Houston, Texas, On this 28th day of November, 2007.

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!L/ sIM LAKE
UNITED sTATES DISTRICT JUDGE

 

